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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ANTOINE ROSS,
                                                                      DEFENDANTS GEORGE AND
                                                      Plaintiff,      GENOVES STATEMENT OF
                                                                      MATERIAL FACTS PURSUANT
                           -against-                                  TO SDNY LOCAL CIVIL RULE
                                                                      56.1
CAPTAIN DION WILLIS, ET AL.,
                                                                      16 Civ. 6704 (PAE) (KNF)
                                                   Defendants.

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                  Defendants Correction Officer Sadoc Genoves and Rochaurd George submit this

statement pursuant to Local Civil Rule 56.1 of the Local Rules of the United States District

Courts for the Southern and Eastern Districts of New York, to set forth the material facts as to

which they contend there is no genuine issue to be tried. The undisputed facts listed herein

incorporate by reference the parties’ joint statement of facts, filed on December 10, 2020. (ECF

No. 144.)

Plaintiff’s Background:

    1. As of January 22, 2016, Plaintiff was classified as a maximum custody inmate.

         (Arraignment and Classification Risk Screening Form, Declaration of Joshua A. Weiner

         (“Weiner Decl.”), Ex. K at DEF_0039.)

    2. Plaintiff faced charges of robbery in the first degree. (Deposition of Antoine Ross, taken

         on September 21, 2020, Weiner Decl., Ex. A at 21:3-19, 158:22 – 159:6 (“Ross Dep.”).)

Plaintiff Refuses Initial Attempts to Produce Him to Court.

    3. On June 14, 2016, Plaintiff had a scheduled court appearance. (Ross Dep., Weiner Decl.,

         Ex. A at 49:19-20.)
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   4. Captain Monroe and other officers informed Plaintiff that he had to get up because he had

      a court hearing, but Plaintiff refused. (Deposition of Latonia Monroe, taken on July 9,

      2020, Weiner Decl., Ex. E at 74:12-22; 77:11-25 (“Monroe Dep.”).)

   5. Plaintiff did not give any additional information in response to Captain Monroe regarding

      why he was refusing to go to court. (Monroe Dep., Weiner Decl., Ex. E at 74:23 – 75:10,

      77:20-25.)

A Probe Team is Summoned, But Plaintiff Physically Resists and is Sprayed:

   6. On June 14, 2016, Plaintiff knew that he could not choose not to go to court. (Ross Dep.,

      Weiner Decl., Ex. A at 62:8-14.)

   7. Plaintiff knew that whenever he had a scheduled court date, it was pursuant to a court

      order requiring him to appear. (Ross Dep., Weiner Decl., Ex. A at 187:22 – 188:1.)

   8. Defendant Genoves perceived Plaintiff’s refusals to comply with Defendant Willis’s

      orders as “somewhat of a threat” because he did not know Plaintiff’s intentions.

      (Deposition of Sadoc Genoves, taken on August 6, 2020, Weiner Decl., Ex. C at 88:17 –

      89:7 (“Genoves Dep.”).)

   9. Plaintiff pulled his arm away when a member of the probe team attempted to place him in

      handcuffs. (Ross Dep., Weiner Decl., Ex. A at 103:2-11; Deposition of Dion Willis,

      taken on July 14, 2020, Weiner Decl., Ex. D at 89:16-23 (“Willis Dep.”).)

   10. After Defendant Willis warned Plaintiff, Defendant George explained that he still had

      reason to believe that Defendant Willis might not spray Plaintiff even if Plaintiff did not

      comply. (Deposition of Rochaurd George, taken on July 10, 2020 Weiner Decl., Ex. B at

      146:12 – 147:24 (“George Dep.”).)
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    11. After the warning, Defendant Willis gave Plaintiff an opportunity to comply with his

        orders. (Handheld Video at 1:21-1:29; 1 George Dep., Weiner Decl., Ex. B at 147:25 –

        148:22; Willis Dep., Weiner Decl., Ex. D at 121:11-25.)

    12. Plaintiff was annoyed by the warning. (Ross Dep., Weiner Decl., Ex. A at 102:7-19.)

    13. When Plaintiff continued not to comply, Defendant Willis deployed one, short, two-

        second burst of chemical agent. (Handheld Video at 1:30-1:31; Ross Dep., Weiner Decl.,

        Ex. A at 110:18 – 111:4.)

    14. The Use of Force Directive 5006R-C, which was in effect on June 14, 2016, states that

        “use non-contact control techniques such as hand-held chemical agents” is a lesser degree

        of force that should be used before physical contact. (Use of Force Directive 5006R-C,

        Weiner Decl., Ex. L at DEF_0066.)

The Effects of MK-9:

    15. According to Plaintiff, he began feeling the effects of the chemical agent, including

        coughing, burning eyes, choking, dizziness, chest tightness, wheezing, and shortness of

        breath. (Ross Dep., Weiner Decl., Ex. A at 70:8 – 71:12, 112:25 – 113:5.)

    16. The Chemical Agents Directive 4510R-G, which was in effect on June 14, 2016, lists the

        anticipated effects of Oleoresin Capsicum (“OC”) chemical agent as (1) swelling of the

        mucous membranes; (2) immediate involuntary closing of the eyes; (3) uncontrollable

        coughing; (4) gagging; (5) gasping for breath; and (6) sensation of intense burning of the

        skin and the mucous membranes inside the nose and the mouth. (Chemical Agents

        Directive 4510R-G, Weiner Decl., Ex. J at DEF_0808.)




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  On December 11, 2020, the parties provided the Court with the handheld video. As such, defendants are not
providing the Court with a separate copy as part of its motion papers.
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   17. While Plaintiff was handcuffed by Defendants George and Genoves, he stated, for the

      first time, that he was asthmatic. (Handheld Video at 1:58; Ross Dep., Weiner Decl., Ex.

      A at 111:13 – 112:1, 185:23 – 186:2.)

Decontamination Process:

   18. Removing Plaintiff from his cell was part of the decontamination process. (Chemical

      Agents Directive 4510R-G, Weiner Decl., Ex. J at DEF_0817; Willis Dep., Weiner Decl.,

      Ex. D at 156:7-13.)

   19. Plaintiff did not request medical attention during his interaction with Defendants.

      (Handheld Video at 00:00-9:31.)

   20. Plaintiff chose to stop showering by informing a DOC staff member that he was relieved.

      (Ross Dep., Weiner Decl., Ex. A at 76:9-22.)

   21. The probe team did not escort Plaintiff to the medical clinic because they were the

      officers who were present when he was sprayed. (Ross Dep., Weiner Decl., Ex. A at

      76:10-19, 78:10-13, 80:11-16; George Dep., Weiner Decl., Ex. B at 56:2-15; Genoves

      Dep., Weiner Decl., Ex. C at 141:4-23; Willis Dep., Weiner Decl., Ex. D at 193:8-15,

      194:13-21.)

   22. Instead, a fellow officer escorted Plaintiff to the medical clinic. (Ross Dep., Weiner

      Decl., Ex. A at 80:8-16.)

Plaintiff’s Lack of Damages:

   23. No medical professional has told Plaintiff that the June 14, 2016, incident made his

      asthma more severe. (Ross Dep., Weiner Decl., Ex. A at 204:1-3.)
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24. A medical record about an asthma follow up appointment from August 11, 2016, states

   that Plaintiff’s asthma was “well controlled.” (NYC Health & Hospitals August 11, 2016

   Progress Note, Weiner Decl., Ex. G at DEF_0291 – DEF_0292.)

25. On November 10, 2016, at Plaintiff’s three month follow up appointment, the medical

   record states that Plaintiff’s asthma was “well controlled.” (NYC Health & Hospitals

   November 10, 2016, Weiner Decl., Ex. H at DEF_0189 – DEF_0190.)
